Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 1 of 15




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    (Palm Beach Division)

                              Case No. 9:19-CV-80633-ROSENBERG


   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

   v.

   NATURAL DIAMONDS INVESTMENT CO.,
   et al.,

          Defendants,

   H.S. MANAGEMENT GROUP LLC, et al.,

         Relief Defendants.
   ______________________________________________/

               RECEIVER’S UNOPPOSED FIFTH INTERIM APPLICATION
             FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND
               REIMBURSEMENT OF EXPENSES TO THE RECEIVER AND
            HIS PROFESSIONALS; INCORPORATED MEMORANDUM OF LAW

          Pursuant to paragraph 52 of Section XIII of the Order Granting Plaintiff Securities and

   Exchange Commission’s Motion for Appointment of Receiver [DE 20] (the “Appointment

   Order”), Jeffrey C. Schneider, not individually, but solely in his capacity as the Court-appointed

   receiver (the “Receiver”), submits his Fifth Interim Application for allowance and payment of

   compensation and reimbursement of expenses for the quarterly period of October 1, 2020 through

   December 31, 2020.

          The Receiver has conferred with those that are still parties to this case. The Securities and

   Exchange Commission (the “SEC”) consents to the relief requested herein. All Defendants and

   Relief Defendants (except for Jose Aman) have since settled with the SEC and have had consent

   judgments entered by the Court, so they are no longer parties to the case. Mr. Aman has also

   consented to a settlement with the SEC, but the terms are in the process of finalization following
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 2 of 15




   his December 8, 2020 sentencing in the criminal case. Because a consent judgment has not yet

   been entered against Mr. Aman, Receiver consulted with him about this Fee Application, and he

   advised that he has no objection.

                                                INTRODUCTION

           During the period of time covered by this Fee Application, the Receiver is pleased to report

   that he physically secured diamonds and jewelry that have been appraised at approximately $1.1

   million.1 These pieces were part of the global settlement with G7 that was approved during this

   period, and pursuant to the approved settlement agreements, those items will be sold and G7 is

   entitled to a payment of up to $350,000, with the balance being kept by the Receivership Estate

   for the benefit of the defrauded victims.

           In addition, during the subject quarter, the Receiver, among other things, further

   investigated and prepared to make a demand against certain non-parties that worked with the

   Corporate Defendants. The Receiver also worked to secure documents from the Seigels. Lastly,

   the Receiver worked with the SEC to lay the groundwork for consent final judgments against the

   Corporate Defendants.

           The specific details of the work of the Receiver and his professionals is described in more

   detail below.

                                       PROCEDURAL BACKGROUND

           On May 13, 2019, the SEC filed an emergency action in this Court to enjoin NDIC, EFDG

   (a/k/a Diamante Atelier), and Argyle (collectively, the “Corporate Defendants”), and their

   principals. In the Complaint [DE 1], the SEC alleged that the Corporate Defendants were a three-

   tiered Ponzi scheme that promised hundreds of investors investment returns that ranged from 24%



   1
    This sum includes the values of diamonds that the Court has determined are owned by others and will thus not be
   sold for the benefit of the Receivership Estate.
                                                           2
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 3 of 15




   to 100% every year to two years for signing investment contracts supposedly backed by diamonds

   worth tens of millions of dollars. The Corporate Defendants raised approximately $30 million

   from approximately 300 investors from late 2013 through 2018.

          The SEC also filed a Motion for Temporary Restraining Order, Asset Freeze, and Other

   Relief [DE 4] and a Motion for Appointment of Receiver [DE 7]. The SEC advised this Court that

   Mr. Schneider had been appointed as Corporate Monitor for NDIC and EFDG in the Corporate

   Monitor Action, which was then also pending in the Southern District of Florida. This Court

   appointed the Receiver for Argyle, which was later expanded to include NDIC and EFDG.

          There were asset freezes over Defendants Aman, Harold Seigel and Seigel entity HS

   Management (a relief defendant) [DE 40]. In addition, there were asset freezes over the other

   relief defendants, including approximately $2 million frozen in accounts in the names of Relief

   Defendants Winners Church International Inc. of West Palm Beach Florida (“Winners Church”)

   and Fredrick and Whitney Shipman (collectively, the “Shipmans”) [DE 59], and dozens of

   diamonds and jewelry pieces held by Relief Defendant G7 [DE 55]. As discussed below, the SEC

   settled its claims against Winners Church and the Shipmans, so the approximately $2 million that

   was frozen was deposited into the Court’s registry and will, upon Court approval, be transferred

   to the Receiver to distribute, again upon Court approval, to the victims. Also, as discussed below,

   a settlement was reached at mediation between the SEC, G7, and the Receiver, and which the

   Court later approved [DE 251, DE 252].

                          DETAILS OF ACTIVITIES ACCOMPLISHED

          As more fully discussed in the Receiver’s six Reports [DE 111-1, DE 144-1, DE 185-1,

   DE 199-1, DE 230-1, and DE 262, respectively], the Receiver has accomplished much since his

   appointment for the benefit of the Receivership Estate and investors. We will not reiterate them



                                                   3
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 4 of 15




   here, but instead, we will focus solely on the accomplishments during this period, which include

   the following:

      i.        Working with G7 to finalize the settlement papers, and filing a motion
                to approve the G7 settlement agreement [DE 252], which the Court
                approved [DE 259];

      ii.       Working to retain an auction company and organize the framework of
                an auction of the various diamonds secured by the Receiver to monetize
                the Receivership Estate;

      iii.      Moving to determine the ownership of certain diamonds caught up in
                the Receivership [DE 264], which the Court determined were not part
                of the Receivership Estate [DE 271], and working to facilitate the return
                of those diamonds to their rightful owners;

      iv.       Working with the Court-appointed accountants to finalize the necessary
                tax returns for this matter;

      v.        Securing orders by the magistrate and this Court to require Harold
                Seigel and HS to account to the Receiver on various financial issues and
                pursuing the production of that Court-ordered production;

      vi.        Continuing to communicate and update investors and other victims by
                email, by telephone, and through the receivership website about the
                status of this proceeding. The receivership website contains important
                court filings, letters from the Receiver to the investors, a registration
                form, a “frequently asked questions” section to educate the investors
                about the receivership process, and an email address
                (naturaldiamondsreceivership@lklsg.com) and phone number
                (786.347.2563), so the investors may contact the Receiver directly with
                questions that were not answered by navigating the website;

      vii.      Investigating potential targets for purposes of ancillary receivership
                litigation for the benefit of the Receivership Estate and investors;

      viii.     Pursuing subpoenas and certain pre-suit demand letters; and

      ix.       Working with the SEC on language for consent final judgments against
                the Corporate Defendants, which will be submitted to the Court for entry
                when finalized.

             The Receiver respectfully requests that this Court appreciate the difficulty, challenge, and

   magnitude of the tasks that he and his professionals have been confronted with and the time-

                                                      4
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 5 of 15




   pressure under which they were obligated to perform those tasks, neither of which can be gleaned

   from an after-the-fact review of the attached time records. This case was, and continues to be,

   challenging because of the complexity of the business operations involved, the volume of

   documents and data, the difficulty in obtaining information and documentation from the principals

   of the Corporate Defendants, and the voluminous financial transactions from the relevant business

   and personal accounts. Again, the Receiver’s six Reports detail many of the Receiver’s and his

   professionals’ immediate accomplishments.

           The Receiver also respectfully requests that this Court appreciate the large amount of risk

   undertaken by the Receiver and his team because there was no guaranty upon the Receiver’s

   appointment that there would be any assets ultimately secured to compensate the Receiver or his

   team. In fact, there are still insufficient funds in Argyle’s receivership bank account to pay this

   Fee Application or any of the previously-awarded four Fee Applications, although the Receiver

   has filed a motion to transfer funds from the Court registry to the Receivership estate, now that all

   the conditions precedent have been met.

                                   DESCRIPTION OF SERVICES

      I.      The Receiver

           The Receiver is a trial attorney who has served as a District Court receiver and receiver’s

   counsel in numerous SEC, FTC, and Commodity Futures Trading Commission cases during his

   nearly 30-year career. The Receiver is Chair of his law firm’s Receivership Practice Group and

   has served as the firm’s Managing Partner since the firm’s inception. Because the Receiver views

   receivership cases as serving the public’s interest, the Receiver agreed to substantially reduce his

   standard hourly rate of $695.00 per hour, which is what the Receiver charges his typical

   commercial clients, to $395.00 per hour for purposes of this case. The Receiver’s $395.00 hourly



                                                    5
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 6 of 15




   rate is currently one of the lower receiver rates in the Southern District of Florida in receivership

   cases. The Receiver also capped his rate during the life of this case.

            The Receiver also sought commensurate reductions from all of his professionals. The

   Receiver also obtained their agreement to cap their rates during the life of this case.

      II.      Information about this Fee Application

            This Application has been prepared in accordance with the SEC’s Billing Instructions for

   Receivers in Civil Actions Commenced by the SEC. Pursuant to the Billing Instructions, Exhibit

   A attached hereto is a Certification by the Receiver confirming, under oath, that this Fee

   Application complies with the SEC’s Billing Instructions.

            Exhibit B attached hereto is the updated quarterly Standardized Fund Accounting Report,

   also known as the SFAR, which is the SEC’s accounting form required in civil receivership actions

   commenced by the SEC.

            Exhibit C attached hereto memorializes the professional services rendered by the

   Receiver, and the necessary and reasonable non-reimbursed out-of-pocket costs attendant to those

   services. Exhibit C, which was prepared based on the Receiver’s contemporaneous daily time

   records, includes a daily description of the services rendered by the Receiver, along with the hours

   expended at his reduced hourly rate. Exhibit C reflects that the Receiver billed a total of 54.80

   hours, at a reduced hourly rate of $395.00 per hour, for a total of $21,646.00.

            Exhibits D, E, and F attached hereto memorialize the professional services rendered by

   the Receiver’s professionals, and the necessary and reasonable non-reimbursed out-of-pocket

   costs attendant to their services, which are described more fully below.

            Exhibit G is a proposed Order granting this Fee Application.




                                                     6
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 7 of 15




       III.      The Receiver’s Counsel and Their Services

              Pursuant to paragraph 50 of Section XIII of the Appointment Order, the Receiver was

   required to obtain permission from this Court to retain his legal counsel. The Court approved the

   retention of the law firms of Sallah Astarita & Cox, LLC (the “Sallah Firm”), Silver Law Group

   (the “Silver Firm”)), and the Receiver’s law firm Levine Kellogg Lehman Schneider + Grossman

   LLP (“LKLSG”). Quite experienced in receivership matters, the partners and of counsel at the

   Sallah and Silver Firms have all agreed to substantially reduce their standard hourly rates (which

   range from $400.00 to $650.00 per hour) to $395.00 per hour in order to further increase potential

   recoveries for the benefit of the Receivership Estate. Associates are billed at less than that

   maximum reduced rate. They have also agreed to cap their rates during the life of this case.

              LKLSG, which handles all issues relating to the Seigels and Relief Defendant HS

   Management, similarly agreed to rate reductions and an even smaller cap of $350.00 during the

   life of this case. The Receiver continues to endeavor to prevent duplication of efforts by his

   attorneys.

              The professional services rendered by the Sallah Firm, and the necessary and reasonable

   non-reimbursed out-of-pocket costs attendant to those services, are described in more detail on

   Exhibit D. Exhibit D, which was prepared based on the Sallah Firm’s contemporaneous daily

   time records, includes a daily description of the services rendered, the hours expended, and the

   attorney’s reduced hourly rate.2 Exhibit D reflects that the Sallah Firm has charged a total of

   38.60 hours for a total of $15,247.00 and incurred costs of $205.00 during the subject period,

   bringing the current total due the Sallah Firm to $15,452.00.

              As stated above, the professional services rendered by LKLSG, and the necessary and


   2
     Counsels’ billing entries in Exhibits D and E consist of “Case Administration” and “Asset
   Analysis and Recovery” entries pursuant to the SEC’s Billing Instructions.

                                                     7
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 8 of 15




   reasonable non-reimbursed out-of-pocket costs attendant to those services, are described in more

   detail on Exhibit E. Exhibit E was prepared based on LKLSG’s contemporaneous daily time

   records, and includes a daily description of the services rendered, the hours expended, and the

   attorney’s reduced hourly rate. Stephanie Reed Traband billed a total of 83.40 hours, at a reduced

   hourly rate of $350.00 per hour, for a total of $29,190.00. The Receiver’s paralegal billed a total

   of 19.30 hours, at a reduced hourly rate of $150.00 per hour, for a total of $2,895. Exhibit E also

   reflects that the Receiver’s firm incurred costs of $63.55 during the subject period.3

               The schedules of disbursements for expenses, which are also part of Exhibits D and E, are

   those actual and necessary expense items, such as photocopy charges, long distance telephone

   charges, telecopy charges, delivery charges, and various expenses incurred in connection with this

   matter. All of these expense items would typically be billed by the Receiver and his professionals

   to their general commercial clients. In addition, all travel time was reduced by 50% in accordance

   with the SEC’s Billing Instructions.

               As set forth above, the Receiver and his professionals have not been paid any compensation

   in connection with the services and expenses set forth herein, and do not expect to be paid for those

   services until the Receivership has sufficient resources with which to make those payments.

         IV.      Summary Chart

               For the Court’s convenience, the following is a summary of the total fees and costs of the

   Receiver and his professionals during the subject period covered by this Fee Application:



       Name                                Hours         Fees             Expenses          Total
       Receiver                            54.80         $ 21,646.00      $0                $21,646.00


       Sallah Astarita Cox LLC             38.60         $15,247.00       $205.00           $15,452.00


   3
       The Silver Firm did not have any billable time or expenses during the subject period.
                                                     8
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 9 of 15




    Levine Kellogg              102.7                     $32,085.00      $63.55            $32,148.55
    Lehman Schneider + Grossman
    LLP
    Total                       196.1                     $68,978.00      $268.55           $69,246.55



   V.      Applicable Legal Standard and Analysis

          In determining attorneys’ fees, a court must (1) determine the nature and extent of the

   services rendered; (2) determine the value of those services; and (3) consider the factors set forth

   in Johnson v. Georgia Highway Express, Inc., 488 F. 2d. 714 (5th Cir. 1974). See Grant v. George

   Schumann Tire & Battery Co., 908 F.2d 874, 877-78 (11th Cir. 1990) (bankruptcy fee award case

   addressing the issue of attorney’s fees generally before considering specific requirements in the

   bankruptcy context). The twelve factors set forth in Johnson, a case involving an award of

   attorneys’ fees under Federal civil rights statutes, as incorporated by the Eleventh Circuit in Grant,

   a bankruptcy case, are: (1) the time and labor required; (2) the novelty and difficulty of the

   questions presented; (3) the skill required to perform the legal services properly; (4) the preclusion

   of other employment by the attorney due to acceptance of the case; (5) the customary fee for similar

   work in the community; (6) whether the fee is fixed or contingent; (7) time limitations imposed by

   the client or by the circumstances; (8) the amount involved and results obtained; (9) the experience,

   reputation, and ability of the attorney; (10) the undesirability of the case; (11) the nature and length

   of the professional relationship with the client; and (12) awards in similar cases.

          A.      The Time and Labor Required

          The foregoing summary description, together with the time records attached hereto, detail

   the time, nature, and extent of the professional services rendered by the Receiver and his

   professionals during the period covered by this Application. The Receiver and his professionals

   believe that the time spent is justified by the results that have been achieved thus far. The Receiver


                                                      9
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 10 of 15




   and his professionals believe they have played a significant role during the course of this

   proceeding and will continue to do so in the future.

          B.      The Novelty and Difficulty of the Questions Presented

          This case required a high level of skill to secure receivership assets and to carry out the

   Receiver’s many duties.

          C.      The Skill Requisite to Perform the Services Properly

          In order to perform the required services, substantial legal skill and experience in the areas

   of commercial law and litigation were required of the Receiver and his professionals. The Receiver

   is acutely aware of the financial considerations arising in receiverships such as this. Accordingly,

   as this Court may gather from the Exhibits attached hereto, the Receiver has staffed the

   administration of this case efficiently under the direction and immediate supervision of the

   Receiver.

          D.      The Preclusion of Other Employment Due to This Case

          Although the Receiver and his professionals were not explicitly precluded as a result of

   this case from accepting other matters, matters in this case were treated by the Receiver and his

   professionals in an expeditious and professional manner. Also, this case required the Receiver and

   his professionals to devote a significant amount of time to this case, to the preclusion of expending

   time on other active matters.

          E.      The Customary Fee

          The hourly rates of the Receiver and his professionals set forth on the attached exhibits

   reflect a rate that is generally lower than the hourly rates billed by the Receiver and his

   professionals to clients in other cases, as well as rates that are consistent with or even lower than

   other receivers and their retained law firms in similar matters.          The Receiver’s and his



                                                    10
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 11 of 15




   professionals’ reduced rates have been confirmed and approved in many other matters in which

   the Receiver and his professionals have been involved.

          F.      Whether the Fee Is Fixed or Contingent

          The compensation of the Receiver and his professionals is subject to the approval of this

   Court, and the Receiver and his professionals have not received any compensation for their

   services rendered to date. The above factors should be taken into consideration by this Court, and

   the compensation should reflect the assumption of the risk of non-payment and delay in payment

   that may be borne in future applications herein.

          G.      The Time Limitations Imposed

          This case imposed some time limitations on the Receiver and his professionals due to the

   necessity for rapid resolutions of issues.

          H.      The Experience, Reputation, and Ability of the Professionals

          The Receiver and his professionals enjoy a fine reputation and have proven substantial

   ability in the fields of equity receiverships, litigation, and business reorganization.

          I.      The “Undesirability” of the Case

          This case is not the least bit undesirable, and the Receiver and his professionals are honored

   and privileged to serve in this case.

          J.      The Nature and Length of Professional Relationship

          The Receiver and his professionals have had no prior relationship with the parties in this

   case prior to the initial related proceeding of the Corporate Monitor Action.

          K.      Awards in Similar Cases

          The amounts requested by the Receiver and his professionals are not unreasonable in terms

   of awards in cases of similar magnitude and complexity. The compensation requested by the

   Receiver and his professionals comports with the mandate of applicable law, which directs that
                                                      11
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 12 of 15




   services be evaluated in light of comparable services performed in other cases in the community.

   As stated above, the hourly rates requested by the Receiver and his professionals are generally

   lower than the ordinary and usual hourly rates billed by the Receiver and his professionals to not

   only their ordinary clients, notwithstanding the risks associated with this case, but also other

   receivers and their retained firms who bill at higher hourly rates.

          L.      The Source of Payment for the Amounts Sought Hereunder

          The amounts for which payment is requested hereunder shall be paid from funds that are

   held in the Argyle receivership bank account. However, there are currently insufficient funds in

   that account to pay this Fee Application. The Receiver requests that this Court still grant this Fee

   Application, and if and when the Argyle receivership account is funded in the amount of at least

   the total amount sought in this Fee Application, then the requested payments shall be made from

   the funds in the Argyle receivership account.

                                            CONCLUSION

          The Receiver respectfully requests that this Court enter the proposed Order, attached as

   Exhibit G, approving this Fifth Fee Application of payment and reimbursement of the requested

   fees and costs, and for such other relief that is just and proper. As stated above, the Receivership

   Estate does not currently have sufficient funds with which to pay the fees requested in this Fee

   Application. The Receiver, therefore, merely seeks an order of entitlement, and the Receiver will

   pay the amounts sought when the Receivership Estate has sufficient funds within which to do so.




                                                    12
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 13 of 15




                                LOCAL RULE CERTIFICATION

          Pursuant to Local Rule 7.1(a)(3), the Receiver hereby certifies that he has conferred with

   counsel for the SEC and the remaining Defendant regarding this Fee Application. The SEC

   consents to the relief requested herein. Defendant Jose Aman states he has no objection.

     Dated: February 16, 2021                          Respectfully submitted,
                                                       LEVINE KELLOGG LEHMAN
                                                       SCHNEIDER + GROSSMAN LLP
                                                       Co-Counsel for the Receiver
                                                       201 S. Biscayne Blvd., 22nd Floor
                                                       Miami, FL 33131
                                                       Tel.: (305) 403-8788
                                                       Fax: (305) 403-8789

                                                       s/ Stephanie Reed Traband
                                                       Email: srt@lklsg.com; ar@lklsg.com
                                                       Florida Bar No. 0158471

                                                               -and-

                                                       SALLAH ASTARITA & COX, LLC
                                                       Co-Counsel for the Receiver
                                                       3010 North Military Trail, Suite 210
                                                       Boca Raton, FL 33431
                                                       Tel.: (561) 989-9080
                                                       Fax: (561) 989-9020
                                                       Patrick J. Rengstl, P.A.
                                                       Fla. Bar No. 0581631
                                                       Email: pjr@sallahlaw.com




                                                  13
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 14 of 15




                                    CERTIFICATE OF SERVICE

          I hereby certify that on February 16, 2021, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

   served this day on all counsel of record or pro se parties identified on the attached Service List in

   the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

   or in some other authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing.

                                                         By: /s/ Stephanie Reed Traband
                                                            STEPHANIE REED TRABAND




                                                    14
Case 9:19-cv-80633-RLR Document 281 Entered on FLSD Docket 02/16/2021 Page 15 of 15




                                        SERVICE LIST

   Counsel for Securities and Exchange Commission:
   Amie Riggle Berlin, Esq.
   Senior Trial Counsel
   Linda S. Schmidt, Esq.
   Senior Trial Counsel
   Securities and Exchange Commission
   801 Brickell Avenue, Suite 1800
   Miami, Florida 33131
   Email: berlina@sec.gov

   Counsel for Harold Seigel, Jonathan Seigel, and H.S. Management Group LLC:
   Ellen M. Kaplan, Esq.
   Law Office of Ellen M. Kaplan P.A.
   9900 W Sample Rd Fl 3
   Coral Springs, Florida 33065
   Email: ellenkaplanesq@aol.com

   Counsel for Gold 7 of Miami, LLC:
   Aaron Resnick, Esq.
   Law Offices of Aaron Resnick, P.A.
   100 Biscayne Boulevard, Suite 1607
   Miami, Florida 33132
   E-mail: aresnick@thefirmmiami.com

   Counsel for Winners Church, Frederick Shipman, and Whitney Shipman:
   Carl Schoeppl, Esq.
   Terry A.C. Gray, Esq.
   Schoeppl Law, P.A.
   4651 North Federal Highway
   Boca Raton, Florida 33431
   Email: carl@schoeppllaw.com
          tgray@schoeppllaw.com

   Via Email

   Jose Aman, pro se
   E-mail: joseaman123@gmail.com




                                              15
